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UNITED STATES OF AMERICA vi}

UNITED STATES DISTRICT COURT

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FOR THE CENTRAL of CA

 

UNITED STATES OF AMERICA, No. ce¥19-!
Plaintiff, GOVERNMENT'S NOTICE OF REQUEST FOR
DETENTION
Vv.

AMAN MEHNDIRATTA,

Defendant.

 

 

 

 

Plaintiff, United States of America, by and through its counsel

of record, hereby requests detention of defendant and gives notice of

“

    
 

the following material factors:

CJ te ““Temporary 10-day Detention Requested (§ 3142(d)) on the

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. 12 ~ , '
(j3.following grounds:

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ih] L@= present offense committed while defendant was on release
i ‘ I
pending (felony trial),

   

“5. defendant is an alien not lawfully admitted for

“permanent residence; and

 

 
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2.

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c.

d.

defendant may flee; or

pose a danger to another or the community.

Pretrial Detention Requested (§ 3142(e)) because no

condition or combination of conditions will reasonably

assure:

a.

b.

the appearance of the defendant as required;

safety of any other person and the community.

Detention Requested Pending Supervised Release/Probation

Revocation Hearing (Rules 32.1(a) (6), 46(d), and 18 U.S.C.

§ 3143 (a)):

a.

defendant cannot establish by clear and convincing
evidence that he/she will not pose a danger to any
other person or to the community;

defendant cannot establish by clear and convincing

evidence that he/she will not flee.

Presumptions Applicable to Pretrial Detention (18 U.S.C.

§ 3142(e)):

a.

Title 21 or Maritime Drug Law Enforcement Act (“MDLEA”)
(46 U.S.C. App. 1901 et seq.) offense with 10-year or
greater maximum penalty (presumption of danger to
community and flight risk); -
offense under 18 U.S.C. 8§§ 924(c), 956(a), 2332b, or
2332b(g) (5) (B) with 10-year or greater maximum penalty
(presumption of danger to community and flight risk) ;
offense involving a minor victim under 18 U.S.C.

§§ 1201, 1591, 2241, 2242, 2244(a) (1), 2245, 2251,

2251A, 2252(a) (1)-(a) (3), 2252A(a) (1) -2252A(a) (4),

 
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2260, 2421, 2422, 2423 or 2425 (presumption of danger
to community and flight risk);

defendant currently charged with an offense described
in paragraph 5a - 5e below, AND defendant was
previously convicted of an offense described in
paragraph 5a - 5e below (whether Federal or
State/local), AND that previous offense was committed
while defendant was on release pending trial, AND the
current offense was committed within five years of
conviction or release from prison on the above-
described previous conviction (presumption of danger to

community) .

Government Is Entitled to Detention Hearing Under § 3142(f)

If the Case Involves:

a.

a crime of violence (as defined in 18 U.S.C.

§ 3156(a) (4)) or Federal crime of terrorism (as defined
in 18 U.S.C. § 2332b(g) (5) (B)) for which maximum
sentence is 10 years’ imprisonment or more;

an offense for which maximum sentence is life
imprisonment or death;

Title 21 or MDLEA offense for which maximum sentence is
10 years’ imprisonment or more;

any felony if defendant has two or more convictions for
a crime set forth in a-c above or for an offense under
state or local law that would qualify under a, b, orc
if federal jurisdiction were present, or a combination

or such offenses;

 
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any felony not otherwise a crime of violence that
involves a minor victim or the possession or use of a
firearm or destructive device (as defined in 18 U.S.C.
§ 921), or any other dangerous weapon, or involves a
failure to register under 18 U.S.C. § 2250;

serious risk defendant will flee;

serious risk defendant will (obstruct or attempt to
obstruct justice) or (threaten, injure, or intimidate

prospective witness or juror, or attempt to do so).

Government requests continuance of days for detention
hearing under § 3142(f) and based upon the following

reason(s):

 

 

 

 

 

 
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cE] 7. Good cause for continuance in excess of three days exists in
that:
Dated: March 5, 2019 Respectfully submitted,

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United States Attorney

LAWRENCE S. MIDDLETON
Assistant Uni cates Attorney
Th Crtminal Divist

 

 

RANEFR A. KATZENSTEIN
Assistant United States Attorney

Attorneys for Plaintiff
UNITED STATES OF AMERICA

 
